                                                                                       UNDER SEAL




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION

 UNITED STATES OF AMERICA                          3:25-cr-00078-IM

                v.                                 INDICTMENT

 RUOYU DUAN, aka "Doan Xiao Yu," aka               18 u.s.c. § 371
 "D.X.Y.," aka "Lao Doan," aka "Little             18 U.S.C. §§ 201(b)(l)(C), (b)(2)(C)
 Fish"; and                                        18 u.s.c. § 641
 LI TIAN,                                          18 U.S.C. § 2(a)

                Defendants.                        Forfeiture Allegations

                                                   UNDER SEAL


                               THE GRAND JURY CHARGES:

                            INTRODUCTORY ALLEGATIONS:

       At all times relevant to this Indictment:

       1.      The United States Army was a branch of the United States Department of Defense

whose mission was to protect Americans by, among other things, recruiting, training, equipping,

organizing, and delivering combat-ready Army forces to maintain the security of the United States.

       2.      Joint Base Lewis-McChord ("JBLM") was a joint military installation serving both

the United States Army and the United States Air Force, located approximately six miles southwest

of Tacoma, Washington in the Western District of Washington.
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       3.      Defendant RUOYU DUAN, aka "Duan Xiao Yu," aka "D.X.Y.," aka "Lao Duan,"

and aka "Little Fish" ("DUAN") was a former Army soldier, active from 2013 to 2017. DUAN

was not entitled to receive sensitive military information. DUAN resided in Hillsboro, Oregon.

       4.      Defendant LI TIAN ("TIAN") was an active-duty First Lieutenant in the United

States Army and stationed at JBLM as a Health Services Administrator. TIAN maintained a U.S.

security clearance and was eligible to access material up to and including the SECRET level.

TIAN was a public official who swore an oath to faithfully discharge his duties as a First

Lieutenant in the United States Army. TIAN resided in Dupont, Washington.

       5.      Conspirator 1, whose identity is known to the Grand Jury, was an active-duty

Sergeant in the United States Army and stationed at JBLM as a Battery Supply Sergeant.

Conspirator 1 maintained a U.S. security clearance and was eligible to access material up to and

including the SECRET level. Conspirator 1 was a public official who swore an oath to faithfully

discharge his duties as a Sergeant in the United States Army. Conspirator 1 resided in Lacey,

Washington.

       6.      Conspirator 2, whose true identity is unknown to the Grand Jury, was a foreign

national residing in the People's Republic of China ("PRC") and was not entitled to receive

sensitive U.S. military information.

       7.      Conspirator 3, whose true identity is unknown to the Grand Jury, was a foreign

national residing in the PRC and was not entitled to receive sensitive U.S. military information.

       8.      TIAN and Conspirator 1 were not authorized to disclose sensitive U.S. military

information to DUAN, Conspirator 2, or Conspirator 3. Nevertheless, TIAN and Conspirator 1

entered into a corrupt scheme whereby TIAN and Conspirator I collected and transmitted sensitive



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U.S. military information in exchange for money provided by DUAN, who received money from

the PRC.

       9.      United States Government information that was sensitive, controlled, or classified

was governed by Executive Order, policies and regulations, and federal law. Under Executive

Order 13526, information in any form may be classified if it: (l) was owned by, produced by or

for, or was under the control of the United States Government; (2) fell within one or more of the

classification levels set forth in the Executive Order, specifically Top Secret, Secret, and

Confidential; and (3) was classified by an original classification authority who determined that its

unauthorized disclosure reasonably could be expected to result in damage to the national security

of the United States

       10.     Controlled unclassified information ("CUI") was a distinct category of information

that, while not classified, was subject to safeguarding procedures and dissemination controls.

Executive Order 13556 "establishe[d] an open and uniform program for managing information

that requires safeguarding or dissemination controls" for CUI. All U.S. Government agencies were

required to develop and implement protective measures, conduct regular training, and establish

sanctions and reporting requirements for the misuse or disclosure of CUI. 32 CFR § 2002.

       11.     The Department of Defense implemented Executive Order 13556 via Department

of Defense Instruction 5200.48, which mandated the requirements for marking, handling, and

disseminating CUI; implemented reporting and training requirements for Department of Defense

components; and addressed the misuse of CUI. Specifically, the policy provided:

               a.      No individual may have access to CUI information unless it is determined

       he or she had an authorized, lawful government purpose;



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               b.     The person with authorized possession, knowledge, or control of CUI would

       determine whether an individual had an authorized, lawful government purpose to access

       designated CUI;

               c.     CUI information may be disseminated within the DoD Components and

       between DoD Component officials and DoD contractors, consultants, and grantees to

       conduct official business for the DoD, provided dissemination was consistent with controls

       imposed by a distribution statement or limited dissemination controls;

               d.     CUI designated information may be disseminated to a foreign recipient to

       conduct official business for the DoD, provided the dissemination was approved by a

       disclosure authority and the CUI was appropriately marked as releasable to the intended

       foreign recipient; and

               e.     Safeguarding requirements and incident response measures for the

       mishandling or misuse of CUL

       12.     Army Regulation AR 380-5 (Army Information Security Program) of the United

States Army Manual also instructed Army personnel on how to properly handle, store, and transmit

information marked as CUI, which could include, among other types of information, "For Official

Use Only" information, "Law Enforcement Sensitive" information, "DEA Sensitive Information,"

and "DOD Controlled Unclassified Nuclear Information."

       13.     Guidance from the Center for Development of Security Excellence, which was a

directorate of the Defense Counterintelligence and Security Agency, which, in turn, was part of

the Department of Defense provided the following: "DO NOT USE YOUR PERSONAL EMAIL

to transmit CUI" and went on to say that "[a]ll emails must be encrypted and contain a CUI banner

at the top and bottom of the email."

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        14.    As active-duty members of the United States Army, TIAN and Conspirator 1 were

trained on how to properly handle, store, and transmit CUI and sensitive military information. As

a former active-duty member of the United States Army, DUAN was also trained on how to

properly handle sensitive military information.

        15.    As part of their official duties, TIAN and Conspirator 1 were: (1) required to protect

classified and CUI; (2) not allowed to disseminate to unauthorized individuals CUI or classified

information; and (3) required to report suspicious incidents, including attempts by non-Army

personnel to elicit sensitive U.S. military information.

        16.    The PRC intelligence services used trained intelligence officers, as well as non-

professional persons, known as "cut-outs" or "co-optees." A cut-out or co-optee was often a

person trusted by both the source and the intelligence officer who helped provide a layer of

insulation between an intelligence officer and a source, thereby increasing operational security.

Cut-outs or co-optees could operate under a variety of covers, posing as diplomats, journalists,

academics, or businesspeople both within the PRC and abroad. These individuals were tasked

with spotting, assessing, targeting, collecting, and handling sources and assets with access to

classified, open-source, proprietary, or sensitive information that the government of the PRC could

use to its advantage.

        17.    The PRC used cut-outs or co-optees to recruit intelligence assets in the United

States and to make payments to intelligence assets, often targeting people with access to or

knowledge of U.S. government information, including current and former U.S. government

officials.

II I

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        18.     The PRC's recruitment of intelligence assets often began innocuously, with a

request for unrelated or open-source information, in exchange for payment, and then escalated

gradually into requests for more sensitive government or military information.

                                             Count 1
                                           (Conspiracy)
                                         (18 u.s.c. § 371)

        19.     The Introductory Allegations of this Indictment are hereby incorporated by

reference as if fully stated herein.

                               OBJECTS OF THE CONSPIRACY

        20.     Beginning in or about November 28, 2021, and continuing to at least on or about

December 19, 2024, within the District of Oregon and elsewhere, defendants DUAN and TIAN,

(collectively, DEFENDANTS) and others, known and unknown to the Grand Jury, including

Conspirator I, Conspirator 2, and Conspirator 3, knowingly combined, conspired, and agreed with

each other to commit, or attempted to commit, the following offenses against the United States:

                a.      Bribery of a Public Official, in violation of Title 18, United States Code,

        Sections 201(b)(l)(C) and (b)(2)(C); and

                b.      Theft of Government Property, in violation of Title 18, United States Code,

        Section 641.

                           MANNER AND MEANS OF THE CONSPIRACY

        21.     The objects of the conspiracy were carried out, in substance, as follows:

        22.     DUAN communicated with TIAN and Conspirator 1, using various methods of

communication, including email, social media, and messaging applications, including at times

encrypted messaging applications.



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       23.     DUAN introduced TIAN and Conspirator 1 to others to whom TIAN and

Conspirator 1 would communicate. Specifically, DUAN introduced TIAN to Conspirator 2 and

introduced Conspirator 1 to Conspirator 3. TIAN and Conspirator 1 also transferred sensitive

military information directly to DUAN.

       24.     DUAN offered to TIAN money in return for violating his official duties as a First

Lieutenant in the United States Army by collecting, and transmitting to DUAN sensitive, non-

public information related to the activities of the United States Army.

       25.     In return for money, TIAN: (1) surreptitiously gathered CUI and other sensitive

military information related to the United States Army's operational security, including technical

manuals; (2) transmitted to and attempted to transmit to DUAN CUI and other sensitive

information in violation of his duties as a First Lieutenant; and (3) entered restricted military

installations and took photographs and documents belonging to the United States Army that

contained non-public, sensitive information related to the activities of the United States Army.

       26.     Conspirator 3 offered to Conspirator 1 money in return for violating his official

duties as a Sergeant in the United States Army by collecting, photographing, recording, and

transmitting to Conspirator 3 sensitive, non-public information related to the activities of the

United States Army.

       27.     In return for money, Conspirator 1: (1) surreptitiously gathered CUI and other

sensitive military information related to the United States Army's operational security, including

technical manuals and classified hard drives; (2) transmitted to and attempted to transmit to

Conspirator 3 CUI and other sensitive information in violation of his duties as a Sergeant; and (3)

entered restricted military installations and took photographs, documents, and property belonging



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to the United States Army that contained non-public, sensitive information related to the activities

of the United States Army.

       28.     DUAN received and accepted money from financial accounts based in the PRC.

DUAN then paid TIAN for violating his official duties as an active-duty member of the United

States Army. DUAN also routinely made payments to Conspirator 1 and other security-clearance

holders and active-duty members of the United States Army.

       29.     By means of the above-described conduct and in exchange for the above-described

acts and omissions in violation of his official duties, TIAN received and accepted payments from

DUAN totaling at least approximately $500 on or about March 29, 2023.

       30.     Conspirator I received and accepted payments from DUAN totaling at least

approximately $3,200 from June 7, 2023 to November 24, 2023.

       31.     By means of the above-described conduct and in exchange for the above-described

acts and omissions in violation of his official duties, Conspirator I received and accepted payments

from Conspirator 3, via X .Y., a person known to the Grand Jury, totaling at least approximately

$15,000 from August I, 2024 to December 31, 2024.

                                         OVERT ACTS

       32.     On or about the following dates, in furtherance of the conspiracy and to accomplish

its objects, DEFENDANTS, Conspirator I, Conspirator 2, and Conspirator 3, and their co-

conspirators known and unknown to the Grand Jury committed or caused to be committed the

following overt acts, among others, within the District of Oregon, and elsewhere:

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II I

II I

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DUAN Pays TIAN for White Paper

         Overt Act No. 1: On or about November 28, 2021, TIAN emailed Conspirator 2 at an

email account operating from Hong Kong, 1 introducing himself as a friend of DUAN and looking

for a ''job opportunity." 2

         Overt Act No. 2: On or about December 26, 2021, TIAN emailed Conspirator 2 a white

paper3 with recommendations related to commercial real estate investments on the East Coast of

the United States.

         Overt Act No. 3: On or about December 30, 2021, DUAN received and accepted

approximately $2,000 from a PayPal account based in the PRC.

         Overt Act No. 4: On or about December 31 , 2021, Conspirator 2, via email, thanked TIAN

for the white paper and said that "Mr. Duan" had been paid $1,000, which DUAN would then pay

to TIAN for his work. In the same email, Conspirator 2 asked for "less open source" material and

requested additional information from TIAN.

         Overt Act No. 5: On or about December 31, 2021, DUAN paid TIAN $1,500 via Pay Pal.

DUAN Pays TIAN for Sending Sensitive Military Information

         Overt Act No. 6: On or about October 18, 2022, TIAN sent DUAN military information

via email, specifically, links to Google Drives containing OSINT reports. 4



1
    Hong Kong is a Special Administrative Region of the PRC.

2
  All communications among the defendants and Conspirators occurred in Mandarin Chinese,
unless otherwise noted. This Indictment reflects an English-language translation. Brackets
indicate an explanation that is not part of the verbatim translation.
3
  A white paper is a typically a report providing information, proposals, or solutions about a
particular issue.
4
 OS INT is an acronym for Open Source Intelligence and refers to information that is not classified.
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       Overt Act No . 7: On or about October 25, 2022, TIAN sent DUAN military information

via email, specifically, links to Google Drives containing OS INT reports.

       Overt Act No. 8: On or about November 3, 2022, TIAN sent DUAN information via email,

specifically, links to Google Drives containing OSINT reports.

       Overt Act No. 9: On or about October 13, 2023, TIAN sent from his U.S Army email to

his personal email an unencrypted email containing a document titled "ACM SBCT_Reference

Book_JAN23.pdf," which contained a CUI marking along with additional warnings about proper

dissemination of the document. 5

       Overt Act No. 10: On February 20, 2023, TIAN sent DUAN sensitive military information

via email, specifically, links to Google Drives containing reports related to the Stryker combat

vehicle. Some of the files were:

       •   Copy of I SBCT EMPLOYMENT 1.pptx, which discusses the formations, movements,

           and employment of SBCT.

       •   Copy of 2 CAPABILJTJES.pptx, which specifies the mission and capabilities of the

           Stryker unit, which is a unit in the Army that is responsible for the operation of the

           Stryker combat vehicle.

       •   Copy of stp_91s13.pdf, which has the following marking: "DISTRIBUTION

           RESTRICTION: Distribution authorized to U.S. Government agencies and their

           contractors only because of the sensitve [sic] materials."




5
 ACM is an acronym for Army Capability Manager and SBCT is an acronym for Stryker Brigade
Combat Team. The document is a reference for planning, training, and operations that provides
mission essential tasks and capabilities of the SBCT. The SBCT Team Leaders use this Reference
Book to optimize combat capabilities and military operations.
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      •     Copy of Stryker Layout svct.pptm, which specifies the positions of military personnel

            in the Stryker U.S. Army combat vehicle.

      •     Copy of 1 IWTS CATS METL UTM ATN MILSUITE combined.pptx, which is about a

            Department of Defense social media forum, U.S. Army mission requirements and

            strategy.

      Overt Act No. 11: On or about February 20 and 21 , 2023, TIAN and DUAN had the

following exchange on Facebook Messenger:

          February 20, 2023
          DUAN            Please provide the tm of the vehicles sent there. It is for writing
                          an article.
          TIAN            I don't have access. Will need to wait until Monday.
          TIAN            I will ask chief at work on Tuesday.
          TIAN             Send me a list of the models.
          DUAN            Otherwise, can I bring my cell phone over to download it onto my
                          phone?
          TIAN            I will figure it out for you.
          DUAN             ~
          TIAN            It cannot be downloaded. You have to look for it on AESIP and
                          only chief has access. I can only get a hard copy.
          DUAN            OK. I will give you a list.
          DUAN            [DUAN thanks TIAN]
          TIAN            My supply has access.
          TIAN            He/She says he/she is able to download it/them.
          DUAN            Electronic file? I can also take pictures if I am not allowed to take
                          the hard copy with me.
          TIAN             He is also a proud member of our mavni.
          TIAN             [.pdf]
          DUAN             Wish him a happy new year.
          DUAN             Ah, not a female soldier, right?
          DUAN             Our supply over there in the past was a Chinese girl.
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       TIAN   If I order I' II have to wait for the publisher to ship.
       TIAN   [unsent a message]
       TIAN   it's a guy from Beijing.
       DUAN   I want to download it ... I'll check armytimes to see what the army
              has selected and sent and give you a list.
       DUAN   I will take you two out to eat next time.
       TIAN   [likes previous message]
       TIAN   You're welcome.
       TIAN   [sends photo]




       TIAN   The application was submitted almost half a year ago, but it has
              not been approved ...
       DUAN   Maybe someone tossed the application into the comer of the
              drawer again.
       TIAN   Formalism delays things.
       TIAN   I could log in to the system. But it stopped when I got to the
              download page.
       DUAN   Just one step away. Can you push them?
       DUAN   Speaking of which, you should only have the things in the
              American arsenal. You probably don't have something like
              German Leopard 1 or Weasel, right?
       TIAN   We definitely won't have those.
       TIAN   We still haven't finished our own.


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       DUAN           I first want an M 1126 Stryker infantry vehicle, an MI 09 howitzer,
                      and M2 Bradley fighting vehicle. I saw Armytimes also mentioned
                      the Patriot, but I don't understand that stuff at all and cannot write
                      anything.
       DUAN           I remember the m I 09 sent was an earlier model. And now more
                      than 2,000 Ukrainians are training everywhere with the US
                      military, which is really awesome. I learned this after reading the
                      armytimes article.
       TIAN           1126 is the model we are replacing with a new one.
       DUAN           I have always envied the remote turret. The reconnaissance type
                      has to stick its head out and operate the reconnaissance equipment,
                      and I don't understand why it can't be integrated.
       TIAN           Please receive/check Stryker.
       TIAN           I forgot I've taken SLC.
       DUAN           [DUAN thanks TIAN] I've received the stryker portion.
       DUAN           It seems like only a transport vehicle was sent this time. It didn't
                      include a reconnaissance vehicle with reconnaissance equipment.
                      I feel that information is a more important advantage over there.
       TIAN           If you still need the TM, I will get it for you tomorrow.
       TIAN           I will give you Ml 09 and Bradley tomorrow.
       DUAN           It is best if you have Bradley. I can compare the two vehicles side
                      by side. These are enough. I will ask you again after I finish
                      writing.
       February 21, 2023
       DUAN           Although you have not been asked to start a class now, but I will
                      calculate the tuition fee for you according to the materials. Don't
                      worry, I won't let you work in vain. Thank you!
       DUAN           How about a total of 500 for the three teaching materials? I also
                      want to learn the ppt of your lesson/coursework.
       TIAN           No problem. This is SLC (stryker leader course). I can give you
                      all the teaching materials.

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       Overt Act No. 12: On or about February 23, 2023, TIAN sent DUAN sensitive military

information via email, specifically, links to Google Drives containing reports related to the Bradley

Fire Support vehicle. 6 Examples of the files are:

       •   bradley 1.pdf, which is a document titled "Technical Manual Operator's Manual for

           Bradley Fire Support Vehicle, M7'' and contained the following language:

           "Distribution authorized to U.S. Government Agencies and their contractors only for

           administrative or operational use, as determined on [0]9 May 1987"; and "WARNING

           - This document contains technical data whose export is restricted by the Arms Export

           Control Act (Title 22, U.S.C. Sec 2751, et seq) or the Export Administration Act of

           1979 (Title 50, U.S.C., App. 2401 et seq.), as amended. Violations of these export laws

           are subject to severe criminal penalties."

       •   bradley 2.pdf, which is a document titled "Technical Manual Operator's Manual for

           Bradley Fire Support Vehicle, M7 BFIST" and contained the following language:

           "Distribution authorized to U.S. Government Agencies and their contractors only for

           administrative or operational use, as determined on [0]9 May 1987"; and "WARNING

           - This document contains technical data whose export is restricted by the Arms Export

           Control Act (Title 22, U.S.C. Sec 2751, et seq) or the Export Administration Act of

           1979 (Title 50, U.S.C., App. 2401 et seq.), as amended. Violations of these export laws

           are subject to severe criminal penalties."

       •   ml 09.pdf, which is a document containing a pre-combat checklist for a military vehicle

           that approved for public release.



6
 The Bradley Fire Support Vehicle is designed for precision target location and assisting in in-
direct fire.
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       Overt Act No. 13: On or about February 24, 2023, TIAN and DUAN had the following

exchange on Facebook Messenger:

        DUAN            I see that nothing happened after you said you'd ask the chief.
                        Don't worry if it can't be done. I can find materials on wiki or
                        reddit.
        DUAN            The main thing is not to get in trouble. It is not easy to get to
                        this point in the army.
        TIAN            Downloaded. Don't be anxious. I'm out and will send it to you
                        when I get back.
        DUAN            There's no hurry. Just worried about causing you trouble.
        TIAN            There's no trouble. [he is] just slow.
                        [unrelated messages sent]
        TIAN            tm sent.
        TIAN            I've obtained the system permissions and can now download the
                        pdf.

       Overt Act No. 14: On or about March 29, 2023, via Facebook Messenger, DUAN said to

TIAN "Keep forgetting to give you the material fees. Is 500 too little?" TIAN responded: "That's

very kind of you[.]"

       Overt Act No. 15:      On or about March 29, 2023, DUAN received and accepted

approximately $2,500 from a PayPal account based in the PRC.

       Overt Act. No. 16: On or about March 29, 2023, DUAN paid TIAN $500 via PayPal.

Conspirator 1 Sends Sensitive Military Information to DUAN

       Overt Act No. 17: On or about April 27, 2023, Conspirator 1 sent DUAN two documents

via his personal email that contained sensitive military information, specifically excerpts of a

technical manual for the use and operation of the HIMARS system. HIMARS is an artillery system

that was in use on the battlefield in Ukraine. The document was restricted to Department of

Defense personnel and contained other export restrictions, as follows:

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        DISTRIBUTION STATEMENT D - Distribution authorized to the Department of Defense and U.S. OoO
        contractors only for Administrative or Operational Use as determined on 15 August 2014. other requests shall
        be referred to U.S. Army TACOM Life Cycle Management command, ATTN: AMSTA-l.CL-IMP/TECH PUBS,
        MS 727, 6501 E 11 Mile Road, Warren, Ml 48397-5000.

        WARNING - This document contains technical data whose export is restricted by the Arms Export control Act
        (Title 22, U.S.C., Sec 2751 , et seq.) or the Export Administration Act of 1979, as amended, Title 50A, U.S.C.,
        App. Violations of these export laws are subject to severe criminal penalties. Disseminate in accordance With
        provisions of OoD Directive 523025.

        DESTRUCTION NOTICE - Destroy by any method that wi prevent disclosure of contents or reconstruction of
        the document.




       Overt Act No. 18: On or about April 28, 2023, Conspirator 1 sent DUAN three documents

via his personal email that contained sensitive military information, specifically excerpts of a

technical manual for the use and operation of the HIMARS system, which was restricted to

Department of Defense personnel and contained other export restrictions.

       Overt Act No. 19: On or about May 1, 2023, Conspirator 1 sent DUAN three documents

via his personal email that contained sensitive military information, specifically excerpts of a

technical manual for the use and operation of the HIMARS system, which was restricted to

Department of Defense personnel and contained other export restrictions.

       Overt Act No. 20: On or about May 3, 2023, Conspirator 1 sent DUAN five documents

via his personal email that contained sensitive miliary information, specifically excerpts of a

technical manual for the use and operation of the HIMARS system, which was restricted to

Department of Defense personnel and contained other export restrictions.

DUAN Connects Conspirator 1 with Conspirator 3

       Overt Act No. 21: On or about October 16, 2023, Conspirator 3 introduced himself as

friend ofDUAN's via WeChat saying "Hello, I am a Duan Xiaoyu's friend. 7 Boss Duan says you

have things to sell. Mind telling what you have."



7
 D.X.Y. is a pseudonym for DUAN, who also uses the name Duan Xiao Yu.
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       Overt Act No. 22: In and about November 2023, S.K.K., an individual known to the Grand

Jury, introduced himself to Conspirator I as a friend of DUAN's, via WeChat:

        Novem her 5, 2023
         S.K.K.           I have bought some equipment from you through Boss Duan. I
                          specialize in this type of business in Mainland China. I made
                          several million dollars a year. I'd love to collaborate with you.
        November 6, 2023
        Conspirator I     I remember now, you're one of Duan's friends, right? If you're
                          interested in the masks, I can give you a discount. Duan's friend
                          is my friend too.
        November 19, 2023
        S.K.K.            [Honorary title to show Respect] Duan is also my good brother!

       Overt Act No 23: On or about November 21, 2023, Conspirator 1 and Conspirator 3 were

discussing payment for a stretcher via WeChat, Conspirator 1 told Conspirator 3 that "money is

not in a hurry, you know Lao Duan, he can give me dollars, and you can transfer it to him."

       Overt Act No. 24: On or about November 24, 2023, via WeChat, Conspirator 1 told

Conspirator 3 ''you can negotiation with Lao Duan for money."

TIAN's Activity in His Workspace and Removal of a Classified Document from a Secure
Facility

       Overt Act No. 25: On or about May 1, 2024, video footage from TIAN's unclassified

office at JBLM showed a classified document marked "SECRET" on his desk, which contained

classified information about overall unit readiness.

       Overt Act No. 26: On or about May 3, 2024, video footage from TIAN's unclassified

office at JBLM showed that TIAN held his phone up to his computer screen and took screenshots

of his computer screen.

       Overt Act No. 27: On or about May 5, 2024, video footage from TIAN's unclassified

workspace at JBLM showed that TIAN entered his workspace at approximately 10:45 p.m. TIAN
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removed a document marked SECRET from his desk and walked away with it at approximately

10:50 p.m. TIAN did not re-enter his unclassified workspace and did not return the SECRET

document that day.

       Overt Act No. 28: On or about May 6, 2024, video footage from TIAN's classified

workspace at JBLM showed that TIAN brought his personal cell phone inside, printed a classified

document, and left with the classified document.      TIAN returned with the same classified

document approximately three-and-half hours later.

       Overt Act No. 29: On or about May 7, 2024, video footage from TIAN's unclassified

office at JBLM showed that TIAN plugged his government-issued laptop into his unclassified

workstation and used a variety of different messaging applications on his cell phone. In at least

one conversation using one of the messaging applications, TIAN appeared to be communicating

with an unidentified person in a foreign language.

       Overt Act No. 30: On or about May 8, 2024, video footage from TIAN's classified

workspace at JBLM showed that TIAN brought his personal cell phone inside the classified

workspace during a SECRET-level briefing.

       Overt Act No. 31: On or about May 28, 2024, video footage from TIAN's unclassified

office at JBLM showed that TIAN used his personal cell phone to take a photo of his computer

screen and then used his personal phone to send a text message.

       Overt Act No. 32: On or about June 6, 2024, video footage from TIAN's unclassified

office at JBLM showed that TIAN used his personal cell phone to take a photo of his computer

screen and then making a phone call.

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Indictment                                                                              Page 18
Conspirator 1 Sells Military Equipment and Sensitive Military Information

          A.     Encryption-Capable Computer

          Overt Act No. 33: On or about July 12 through July 15, 2024, via WeChat, Conspirator 1

and Conspirator 3 discussed the sale of a computer used in "military office equipment system" for

$1,800.

          Overt Act No. 34: On or about July 14, 2024, Conspirator 1 informed Conspirator 3, via

WeChat, that Conspirator 1 had not sold the military equipment system to another buyer who

offered more.

          Overt Act No. 35:    On or about July 15, 2024, via WeChat, Conspirator 1 offered

Conspirator 3 a computer system that was ''just replaced" that included a monitor, a "receiver," a

keyboard, and an antenna for $2,500.

          Overt Act No. 36: On or about July 16, 2024, via WeChat, Conspirator 1 told Conspirator

3 that the price "can't be lower than 2300."

          Overt Act No. 37:    On or about October 8, 2024, via WeChat, Conspirator 3 told

Conspirator 1 that the computer was worth $1,800 and that 5,000 Renminbi (Chinese currency)

was already paid.

          Overt Act No. 38:    On or about October 11, 2024, via WeChat, Conspirator 3 told

Conspirator 1 that he will pay Conspirator 1 "1000 usd" tomorrow.

          Overt Act No. 39: On or about October 13, 2024, via WeChat, Conspirator 1 received and

accepted $1,000 from X.Y.

          Overt Act No. 40: On or about October 22, 2024, via WeChat, Conspirator 1 informed

Conspirator 3 that "the computer is screwed. I can't open. I'll return you money."



Indictment                                                                               Page 19
        Overt Act No. 41:       On or about October 29, 2024, via WeChat, Conspirator 1 told

Conspirator 3 that he will definitely send a computer "this weekend."

        Overt Act No. 42: On or about November 4, 2024, via WeChat, Conspirator 3 asked

Conspirator 1 to take care of "the computer matter" this week. Conspirator 1 replied that he was

too busy but will "[take care] in three days."

        Overt Act No. 43: On or about December 4, 2024, via WeChat, Conspirator 3 asked

Conspirator 1 whether the slot at the front of the computer was for a hard drive. Conspirator 1

replied that "It's for two functions. It's for encryption slot or for hard drive. It's very rare now.

Hard to find. If you can guarantee both of our safety while making some money for both of us,

sell it. It's the end of the year."

        B.      Classified Hard Drives

        Overt Act No. 44: On or about July 16, 2024, via WeChat, Conspirator 1 discussed the

sale of classified hard drives with S.K.K. and sent the following photo to S.K.K.:




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         Overt Act No. 45: On or about July 16, 2024, via WeChat, Conspirator 1 and Conspirator

3 had the following exchange:

           Conspirator 1   I have many computer hard drives. It may not be possible to
                           check the contents of the hard drives.
           Conspirator 1   It may not be possible to check the contents of the hard drives.
                           Tomorrow I will check how many are left. Do you understand
                           unclassified and secret?
           Conspirator 3   Understood.

           Conspirator 1   the steps to read the hard drive contents might be burdensome.

           Conspirator 1   [After telling Conspirator 3 that he had twenty hard drives and
                           that he did not know their contents, the hard drives were]
                           definitely government's ... we all are clear on what they are
          Conspirator 1    there could be intelligence or has nothing.

                           [I do not] guarantee anything

                           your buyer needs intelligence, right?

         Overt Act No. 46: On or about July 16, 2024, via WeChat, Conspirator 1 and Conspirator

3 agreed to the sale of twenty hard drives for $10,000, with a $5,000 down payment and another

$5000 upon delivery.

         Overt Act No. 47: On or about August 3, 2024, Conspirator 1 received and accepted $2,500

fromX.Y.

         Overt Act No. 48: On or about August 7, 2024, Conspirator 1 received and accepted $2,500

fromX.Y.

         Overt Act No. 49:     On or about August 7, 2024, via WeChat, Conspirator 1 gave

Conspirator 3 his home address in Dupont, Washington to arrange shipping of the classified hard

drive.



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       Overt Act No. 50:      On or about August 13, 2024, via WeChat, Conspirator 1 told

Conspirator 3 that he would be home on "Friday" for a courier to pick up the two packages

containing the hard drives.

       Overt Act No. 51: On or about Friday, August 16, 2024, via WeChat, Conspirator 1

informed Conspirator 3 that the packages had been picked up.

       Overt Act No. 52:      On or about August 26, 2024, via WeChat, Conspirator 1 told

Conspirator 3 that he had "ten (hard drives) with red stickers and highest-grade orange 8 stickers"

that he will sell for $8,000, stating that he was not worried about selling hard drives of "this

classification," but "speaking from heart," Conspirator 1 was not "totally comfortable" selling, but

would sell "if there was a buyer," but he was not in a rush.

       Overt Act No. 53: On or about September 5, 2024, via WeChat, Conspirator 3 told

Conspirator 1 that he would transfer $2,500 "today or tomorrow."

       Overt Act No. 54: On or about September 9, 2024, Conspirator 1 received and accepted

$2,500 from X.Y.

       Overt Act No. 55: On or about September 12, 2024, via WeChat, Conspirator 3 sent the

following photos of non-stickered hard drives and classified hard drives labeled SECRET to

Conspirator 1, confirming receipt of the classified hard drives.



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  TOP SECRET classification labels are orange or yellow in color, and SECRET classification
labels are red in color.
Indictment                                                                            Page 22
       Overt Act No. 56: On or about September 15, 2024, via WeChat, Conspirator 3 informed

Conspirator I that the buyer only received nineteen hard drives, three of which were corrupted and

as such, the buyer would only pay $2,000 of the remaining $2,500 payment. Conspirator I agreed

Indictment                                                                               Page 23
and stated that he had never promised anything regarding the hard drives' content or condition,

and that he would never sell to this buyer again.

       Overt Act No. 57:      On or about October 3, 2024, via WeChat, Conspirator 1 told

Conspirator 3 that "I have a couple more TS and S." 9 Conspirator 1 stated further that "I don't

know what's inside. With TS labels, those who understand would get what it means."

       Overt Act No. 58:      On or about October 23, 2024, via WeChat, Conspirator 3 told

Conspirator I that the "buyer" asked why a document's classification level was different, that it

was not "TS as promised," and asked if Conspirator 1 had any TS-class documents because this is

what they [the buyer] cared about. Conspirator 1 responded that TS was for the hard drive, not

documents, and that he could not open TS documents. Conspirator I further stated that he has

"less than TS" documents, but "not now" because "S" was difficult to get, though he did have

"red" hard drives.

       C.      Sensitive US. Military Documents

       Overt Act No. 59: On or about October 11, 2024, via WeChat, Conspirator 1 informed

Conspirator 3 that he had "good stuff' and asked Conspirator 3 to get a quote from any buyer

before Conspirator I named a price. Conspirator 3 agreed to go find "an awesome buyer" and

asked to see the "cover." Conspirator 1 asked Conspirator 3 to "spread the news. It's Brigade

Level." Shortly thereafter, Conspirator 3 said "Ok. Done. Recall," and commented "this needs

some time. This is way top [we] must be very very careful." Conspirator I replied "Very sensitive

document. Super difficult to get."

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  TS is the abbreviation TOP SECRET classification and S is the abbreviation for SECRET
classification.
Indictment                                                                            Page 24
        Overt Act No. 60: On or about October 12, 2024, via WeChat, Conspirator 3 informed

Conspirator 1 that he had spread the news and asked Conspirator 1 to "give a ballpark price."

Conspirator 1 replied "If you want this I' 11 take whatever you feel like ... but in these couple of

years, anything that touches himars, 3-4000 is the starting price. For you, 3000."

        Overt Act No. 61: On or about October 15, 2024, via WeChat, Conspirator 1 asked

Conspirator 3 if he had seen the cover and that Conspirator 1 "needed to delete it" after Conspirator

3 saw it. A few minutes later, Conspirator 3 answered "I haven't had the chance to open the last

one."

        Overt Act No. 62:     On or about October 22, 2024, via WeChat, Conspirator 3 told

Conspirator 1 that "I had someone review the cover that you sent a few days ago. They said it's

worth two thousand dollars. I told them no, and they suggested that, since you have another

document," at which time Conspirator 1 interjected "I won't discuss 2000." Conspirator 3

proceeded with telling Conspirator 1 that he would suggest selling the two documents as a

"package" and figuring out an "average number" to charge for each document, and asked

Conspirator 1 if he was interested in directly communicating with the "new buyer." Conspirator

1 answered "I won't take your suggestion. I won't consider. F*** this world. I'm not selling,

brother." Following a voice call, Conspirator 1 stated to Conspirator 3 "what I can get for you,

you can't get anywhere else." Conspirator 3 then replied that he "will ask more ... [and] find high

level people."

        Overt Act No. 63: On or about October 22, 2024, via WeChat, Conspirator 3 asked

Conspirator 1 for "cover and table of contents." Conspirator 3 also stated, "This is a capable

customer" and followed with a voice call.



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        Overt Act No. 64: On or about October 22, 2024, via WeChat, Conspirator I stated to

Conspirator 3 that "the 42-page one, 2.5K is fine. One copy. Go talk to others about the price for

the rest."

        Overt Act No. 65: On or about October 23, 2024, via WeChat, Conspirator I reiterated to

Conspirator 3 that he had one copy of the 42-page document for sell for "2.5K," and that he needed

to organize "the rest." Conspirator 3 replied that "the buyer" wanted "two documents as a

package" and wanted to see the cover and table of contents for the second document. Conspirator

1 responded that the second document was not for sale, and that they should find another buyer if

the current buyer would only take both documents. Conspirator 3 replied "I can't afford to make

this person angry. Don't play me boss. At the beginning you did say two documents. You said

go find high level people yesterday." Conspirator I eventually instructed Conspirator 3 to name a

high price. Later, Conspirator 3 informed Conspirator I that the buyer's offer would be "two

documents for 6k+500 good will," with the caveat that the buyer would see the cover and table of

contents first.

        Overt Act No. 66: On or about October 24, 2024, via WeChat, Conspirator I asked

Conspirator 3 if he has downloaded Signal, an end-to-end encrypted messaging application.

Conspirator 3 responded that he was looking for a way as his cellphone would not let him install.

        Overt Act No. 67:    On or about October 25, 2024, via WeChat, Conspirator 3 told

Conspirator I that he followed up but the buyer needed another day. Conspirator I responded "do

you know how risky this is?!?" to which Conspirator 3 replied "If I were in your position, I would

not dare," and promised that he would call the buyer at "9am tomorrow."

        Overt Act No. 68:    On or about October 26, 2024, via WeChat, Conspirator 3 told

Conspirator I to prepare the documents and to send the two complete documents, promising that

Indictment                                                                               Page26
payment would be made in three days. Conspirator 3 further told Conspirator l to organize the

documents "page by page," compress the file, and told Conspirator I the exact password to use for

the file. Conspirator 3 then told Conspirator I that he was preparing the "transfer site" and asked

Conspirator l if he could receive a file from the site. Conspirator l responded that he "could

download, but how do I upload?" Conspirator 3 further told Conspirator I that there was a "time

limit" and that item would disappear after the time limit. A voice call followed.

       Overt Act No. 69: On or about October 27, 2024, at approximately 12:26 p.m., Conspirator

I was in his office at JBLM. Video footage showed Conspirator 1 at his computer for five minutes,

leaving his office emptyhanded, and returning to his office with two documents. Conspirator 1

laid two documents on his desk. The two documents were:

       •   Strategic and Operation Rockets and Missiles (STORM), which was related to the

           operation of strategic weaponry and contained a "CUI" marking, along with two

           additional warning banners that read: "Distribution Statement D:           Distribution

           authorized to DoD Department of Defense and U.S. DoD contractors only. Further

           dissemination only as direct by STORM, SF AE-M5L-PFF or Higher DOD Authority."

           The document also contained a warning banner that read: "Export-Control Act

           Warning: This document contains technical data whose export is restricted by the Arms

           Export Control Act (Title 22, U.S.C., Sec. 2751 et seq) or the Export Administration

           Act of 1979, as amended (Title 50, U.S.C., App. 2401 et seq). Violations of these export

           laws are subject to severe criminal penalties. Disseminate in accordance with

           provisions of DoD Directive 5230.25."

       •   The second document also contained a CUI marking and described a United States

           Army Pacific, simulation-driven, bilateral and multinational command post exercise.
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           The exercise is designed to enhance U.S. and multinational partner combat readiness

           and interoperability while strengthening multinational relationships and demonstrating

           U.S. resolve to support the security interest of friends and allies in the Pacific region.

       Overt Act No. 70: On or about October 27, 2024, at approximately 12:27 p.m., via

WeChat, Conspirator l told Conspirator 3 that he was "doing it now." Conspirator I further stated

that he could "only scan, scan after printing then upload to you. I can't upload using my computer.

It's too dangerous." Conspirator 3 replied "you decide."

       Overt Act No. 71: On or about October 27, 2024, at approximately 12:31 p.m., video

footage from Conspirator l's office at JBLM showed Conspirator I using a scanning application

on his personal cellphone to scan the first document page by page. Conspirator I then walked out

of his office with the second document and subsequently returned with the second document rolled

up in his hands.

       Overt Act No. 72: On or about October 27, 2024, at approximately 12:39 p.m., via

WeChat, Conspirator I told Conspirator 3 "I have in my hand. Two documents."

       Overt Act No. 73:      Shortly thereafter, on or about October 27, 2024, via WeChat,

Conspirator 1 sent a confirmation code to Conspirator 3, stating "I uploaded.            This is too

troublesome." Conspirator 3 asked for a link, and Conspirator 1 responded "Can't find it! I copied

the link. It's the code. Can't you download Signal?" Conspirator I added that "Signal is the

safest. This is too troublesome. This feels very risky." Conspirator I continued transferring

documents using the transfer site prepared by Conspirator 3.

       Overt Act No. 74: On or about October 27, 2024, via WeChat, Conspirator I confirmed

transferring all documents. Conspirator 3 responded "great. Reliable. Full payment in three days."



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       Overt Act No. 75: On or about October 29, 2024, via WeChat, Conspirator 3 asked "when

is 86," referring to the current year of the Yama Sakura exercise. Conspirator 1 responded "right

now. About to happen."

       Overt Act No. 76: On or about October 29, 2024, via WeChat, Conspirator 1 and

Conspirator 3 confirmed that they have found and added each other on Signal.

       Overt Act No. 77: On or about October 29, 2024, via WeChat, Conspirator 3 passed a

message from the buyer to Conspirator 1 that stated, "since you've already xxx, why don't you

bring out some good stuff." Conspirator 1 asked Conspirator 3 "buyer said that? The problem is

that everyone has certain restrictions" and stated that "I sure will take good stuff but I need to

guarantee my safety." Conspirator 1 further pondered why the buyer was "opinionated against"

him, and Conspirator 3 stated that while the buyer had a lot of demands, they were safe, paid a

good price, and there was no nonsense because they are "high level."

       Overt Act No. 78 : On or about November 1, 2024, via WeChat, Conspirator 3 told

Conspirator 1 to expect receiving payments for three days consecutive, arranged as

"2000+2000+500."

       Overt Act No. 79: On or about November 1, 2024, Conspirator 1 received and accepted

$2,000 from X.Y.

       Overt Act No. 80: On or about November 2, 2024, Conspirator 1 received and accepted

$2,000 from X.Y.

       Overt Act No. 81: On or about November 3, 2024, Conspirator 1 received and accepted

$500 from X.Y.

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        Overt Act No. 82: On or about November 6, 2024, video footage from Conspirator l's

office at JBLM showed Conspirator I taking pictures of a sensitive document about a military

exercise simulating a conflict with the PRC.

        Overt Act No. 83: On or about November 7, 2024, video footage from Conspirator l's

office at JBLM showed Conspirator I taking a video of an excel file on his government computer

screen and scrolling through the document.

       Overt Act No. 84: On or about November 21, 2024, video footage from Conspirator l's

office at JBLM showed Conspirator I taking a video of his government computer screen.

       Overt Act No. 85: On or about December 4, 2024, via WeChat, Conspirator I told

Conspirator 3 via WeChat that he had a "90-page manual" that he was willing to sell for $1,500,

and that if the buyer would not buy the document, Conspirator I and Conspirator 3 should go find

another buyer. Conspirator 3 responded that he would reach out to the buyer, commenting that

there were no good people "in this field" and that "no one in the establishment will give up an

opportunity to take all."

       Overt Act No. 86: On or about December 5, 2024, via WeChat, Conspirator 3 told

Conspirator I that the buyer would aim to pay in seven to ten days and asked Conspirator I if that

was acceptable.

       Overt Act No. 87: On or about December 19, 2024, Conspirator I received and accepted

$2,000 from X.Y.

       Overt Act No. 88: On or about December 19, 2024, via WeChat, Conspirator I informed

Conspirator 3 that he received "2K." Conspirator 3 explained " 1.5 + .5 Christmas gift money."




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DUAN's Financial Transactions

        Overt Act No. 89: From on or about June l, 2021 through on or about April 30, 2023,

DUAN received and accepted approximately $38,500 in total from two PayPal accounts based in

the PRC.

        Overt Act No. 90: From on or about June 1, 2023 through on or about July 30, 2024,

DUAN received and accepted approximately $14,600 from two Zelle accounts.

        Overt Act No. 91: From on or about June 7, 2023 through on or about November 24, 2024,

Conspirator 1 received and accepted approximately $3,200 from DUAN.

        All in violation of 18 U.S.C. §§ 371, 20l(b)(l)(C) and (b)(2)(C), and 641.

                                                  Count2
                                       (Bribery of a Public Official)
                                         (18 U.S.C. § 201(b)(l)(C))

        33.     The Introductory Allegations of this Indictment are hereby incorporated by

reference as if fully stated herein.

        34.     From on or about October 18, 2022 to on or about March 29, 2023, within the

District of Oregon and elsewhere, defendant DUAN, directly and indirectly, corruptly gave,

offered, and promised a thing of value, namely, United States currency, to a public official, namely,

defendant TIAN, a First Lieutenant in the United States Army, with the intent to induce such public

official to do an act and omit to do an act in violation of his official duty. Specifically, defendant

DUAN corruptly gave and offered defendant TIAN approximately $500 in exchange for sensitive,

military information.     Such conduct violated TIAN's duties and responsibilities as a First

Lieutenant.

        All in violation of 18 U.S.C. § 201(b)(l)(C).



Indictment                                                                                   Page31
                                                 Count 3
                                       (Bribery of a Public Official)
                                        (18 U.S.C. § 201(b)(2)(C))

        35.     The Introductory Allegations of this Indictment are hereby incorporated by

reference as if fully stated herein.

        36.     From on or about October 18, 2022 to on or about March 29, 2023, within the

District of Oregon and elsewhere, defendant TIAN, a public official, namely, a First Lieutenant in

the United States Army responsible for, among other duties, protecting United States Army

sensitive military information, directly and indirectly, corruptly received, accepted, and agreed to

receive and accept something of value, namely, U.S. dollars, in return for being induced to do an

act and omit doing an act in violation of his official duties. Specifically, defendant TIAN corruptly

received and accepted a payment totaling approximately $500 from defendant DUAN, in exchange

for gathering documents and information containing sensitive and CUI information and providing

them to defendant DUAN. Such conduct violated defendant TIAN's duties and responsibilities as

a First Lieutenant, including the duty to protect sensitive and CUI marked documents and

information.

        All in violation of 18 U.S.C. § 20l(b)(2)(C).

                                             Count4
                            (Receipt of Stolen Government Property)
                                         (18 u.s.c. § 641)

        37.     The Introductory Allegations of this Indictment are hereby incorporated by

reference as if fully stated herein.

        38.     On or about February 20, 2022 through on or about February 24, 2022, in the

District of Oregon, defendant DUAN, aided and abetted by defendant TIAN, willfully and

knowingly did receive, conceal and retain stolen property of the United States, that is, sensitive

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military information containing CUI, of a value exceeding $1,000, with intent to convert said

property to his own use, defendants DUAN and TIAN then knowing said property to have been

stolen.

          All in violation of 18 U.S.C. § 641.

                                   FORFEITURE ALLEGATION

          Upon conviction of one or more of the offenses alleged in Count I (Conspiracy), Count 2

(Bribery of a Public Official), and Count 3 (Theft of Government Property) of this Indictment,

defendants DUAN and TIAN shall forfeit to the United States, pursuant to 18 U.S.C.

§ 981(a)(l)(C) and 28 U.S.C. § 2461(c), any property, real or personal, which constitutes or is

derived from proceeds traceable to the offense, including but not limited to a sum of money equal

to the amount of proceeds obtained as a result of the offense in the form of a money judgment.

          If any of the above-described forfeitable property, as a result of any act or omission of the

defendants:

               (a) cannot be located upon the exercise of due diligence;

               (b) has been transferred or sold to, or deposited with, a third party;

               (c) has been placed beyond the jurisdiction of the court;

               (d) has been substantially diminished in value; or

               (e) has been commingled with other property which cannot be divided without

                    difficulty;




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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by 28 U.S.C.

§ 2461 (c), to seek forfeiture of any other property of defendants up to the value of the fo rfeitable

property described in these forfeiture allegations.

Dated: March _!£_, 2025                       A TRUE BILL.



                                               OlCIATINGFOREPE'RSON

Presented by:

WILLIAM M. NARUS
Acting United States Attorney



           Y . ARROW, D.C. #462662
        RINE A. RYKKEN, CSB #267196
Assistant United States Attorneys




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